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  IT IS ORDERED as set forth below:



  Date: April 7, 2020

                                                             _____________________________________
                                                                        Lisa Ritchey Craig
                                                                   U.S. Bankruptcy Court Judge

 _______________________________________________________________


                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

IN THE MATTER OF:                        :      CASE NUMBER
                                         :
CASSANDRA JOHNSON LANDRY,                :      18-55697-LRC
                                         :
                                         :
                                         :      IN PROCEEDINGS UNDER
                                         :      CHAPTER 7 OF THE
      DEBTOR.                            :      BANKRUPTCY CODE

                                        ORDER

      On December 5, 2019, S. Gregory Hays (the “Trustee”), the Chapter 7 Trustee, filed

a notice of proposed abandonment of any and all claims, scheduled or unscheduled, referred

to by Debtor in her Motion for Request for Trustee Report (Doc. 231), including without

limitation, personal injury claims and any claims for damages arising from prepetition

conduct by Defendants named in Adversary Proceeding No. 19-05218 (Doc. 237) (the

“Notice”). On December 19, 2019, Debtor filed an objection to the Notice (Doc. 240) (the
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“Objection”). The Court held a hearing on the Objection on March 5, 2020.

       A Chapter 7 trustee is permitted to abandon property of the estate after notice and a

hearing “that is burdensome to the estate or that is of inconsequential value and benefit to

the estate.”   11 U.S.C. § 554(a).       “The trustee's power to abandon property is

discretionary.” In re Blasingame, 598 B.R. 864, 871 (B.A.P. 6th Cir. 2019) (citing First

Nat'l Bank v. Lasater, 196 U.S. 115, 118–19, 25 S.Ct. 206, 207–08, 49 L.Ed. 408 (1905);

In re K.C. Mach. & Tool Co., 816 F.2d 238, 246 (6th Cir. 1987)); see also Jennings v.

Noble, 523 F. App'x 649, 650 (11th Cir. 2013) (“Under 11 U.S.C. § 554(a), the bankruptcy

court gives deference to the business judgment of the Trustee.”). “Courts defer to the

trustee's judgement [sic] and place the burden on the party opposing the abandonment to

prove a benefit to the estate and an abuse of the trustee's discretion.” Blasingame, 598

B.R. at 871. “The party opposing the abandonment must show some likely benefit to the

estate, not mere speculation about possible scenarios in which there might be a benefit to

the estate.” Id. “The court only needs to find the trustee made: 1) a business judgment;

2) in good faith; 3) upon some reasonable basis; and 4) within the trustee's scope of

authority.” Id. (citing Collier on Bankruptcy, 15th ed., rev. ¶ 554.02[4] (same)).

       In this case, the Trustee proposes to abandon to Debtor various claims, scheduled

and unscheduled, that Debtor has asserted in both an adversary proceeding related to this

bankruptcy case (Case No. 19-05218) and in a suit filed in the Northern District of Georgia.

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These claims appear to allege commercial mortgage and wire fraud prior to the entry of an

order lifting the automatic stay to permit a foreclosure; prepetition mortgage fraud

involving residential real property; a personal injury arising from a prepetition automobile

accident; moneys owed to Debtor by Family and Children Services; and damages incurred

as the result of the modification of transcripts of a “DHR Admin Services” hearing, which

allegedly caused Debtor to lose a case “which led to the nonfiling of a $30 million lawsuit”

(the “Claims”).

       At the hearing, the Trustee’s counsel proffered that, although the Trustee requested

information from Debtor to support the Claims twice in November and December 2018 in

connection with the initial and continued meeting of creditors and followed up by electronic

mail message in January 2019 (see Doc. 122), Debtor never responded to his requests.

Debtor stated that she has “uploaded” into the Court’s system the documents that support

the Claims. The Trustee’s counsel also proffered that the Trustee has read everything filed

in the adversary proceeding and in the district court case. The Trustee concluded that any

successful pursuit of the Claims would depend on Debtor’s testimony. Given Debtor’s

uncooperative behavior and multiple attempts to remove the Trustee and disqualify his

chosen counsel, the Trustee further concluded that he could not work with Debtor to

successfully prosecute the Claims.

       Debtor presented nothing at the hearing to persuade the Court that the Trustee’s

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assessment of the situation was in error. The Court has also read everything filed by

Debtor in connection with the Claims, including the complaint filed in the adversary

proceeding, and has witnessed Debtor’s demeanor and conduct at multiple hearings

throughout this bankruptcy case. At various hearings throughout the proceedings, Debtor

has made unsupported and incomprehensible allegations of fraud and conspiracies against

multiple parties.

       The filed documents that Debtor contends support the Claims appear to be copies of

random financial documents, such as mortgage interest statements, with no explanation as

to the relevance of the documents to the Claims, see, e.g., Doc. 132, and copies of UCC

Financing Statements that Debtor apparently prepared listing herself as the secured party

and her creditors as the debtors, along with Notices of Lien and Writ of Attachment of Real

Property and Personal Property, apparently prepared by Debtor and filed in the District

Court, see Docs. 166-169. Debtor has also filed nonsensical pleadings, such as Notice to

the Court of Fraud, Notice of Intent to Commit Fraud, in which she asserted that she is a

“free inhabitant,” domiciled outside of the land owned and legislated by the United States

and that the Trustee and his counsel wrongfully and in violation of their professional

responsibility had advised the Court to apply written law to land not subject to that written

law, see Doc. 143, and a Mandatory Notice that Debtor is a sovereign citizen, see Doc. 166.

Frankly, nothing Debtor has stated in Court or filed in this case or the adversary proceeding

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is coherent, and Debtor has never articulated any legitimate theory for the fraud and

conspiracy claims.

      Based on this, the Court can only conclude that, under the facts of this case, the

Trustee, in good faith, conducted a reasonable investigation of the Claims and had a

sufficient basis for concluding that the Claims are burdensome to the estate and of

inconsequential value and benefit to the estate.   Accordingly, the claims should be

abandoned to Debtor, pursuant to § 554(a).

      IT IS ORDERED that the Objection is DENIED, and the Notice is APPROVED;

      IT IS FURTHER ORDERED that the Claims are ABANDONED.

                               END OF DOCUMENT



Distribution List

ALL PARTIES ON THE COURT’S MAILING MATRIX




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